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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

 In Re:                                           Case No. 21-01360-JJG-13

 Jose Romo                                        Chapter 13

 Debtor.                                          Judge Jeffrey J. Graham

                        WITHDRAWAL OF PROOF OF CLAIM 7-1

       U.S. Bank Trust National Association as Trustee of the Tiki Series III Trust (‘Creditor’),
by and through their undersigned counsel, hereby withdraws their Proof of Claim 7-1.

                                                  Respectfully Submitted,

                                                  /s/ D. Anthony Sottile
                                                  D. Anthony Sottile (27696-49)
                                                  Sottile & Barile, Attorneys at Law
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                                                  Loveland, OH 45140
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                                                  Attorney for Creditor
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                                CERTIFICATE OF SERVICE

I certify that on June 14, 2021, a copy of the foregoing Withdrawal was filed electronically.
Notice of this filing will be sent to the following party/parties through the Court’s ECF System.
Party/parties may access this filing through the Court’s system:

       Thomas Gene Bradburn, Debtor’s Counsel
       tbradburn@bradburnlaw.com

       John Morgan Hauber, Chapter 13 Trustee
       ecfmail@hauber13.com

       Office of the U.S. Trustee
       ustpregion10.in.ecf@usdoj.gov

I further certify that on June 14, 2021, a copy of the foregoing Withdrawal was mailed by first-
class U.S. Mail, postage prepaid and properly addressed to the following:

       Jose Romo, Debtor
       2700 Cicero Road
       Noblesville, IN 46060

                                                  /s/ D. Anthony Sottile
                                                  D. Anthony Sottile (27696-49)
                                                  Attorney for Creditor
